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                    UNITED STATES DISTRICT COURT
                      DISTRICT OF MASSACHUSETTS


                                    )
UNITED STATES OF AMERICA,           )
               Plaintiff,           )
                                    )   Criminal No. 12-10344-PBS
           v.                       )
                                    )
STANLEY GONSALVES,                  )
               Defendant.           )
                                    )


                         MEMORANDUM AND ORDER

                             May 30, 2014

Saris, U.S.D.J.

     Defendant Stanley Gonsalves is charged with various counts

related to an alleged conspiracy to distribute oxycodone

throughout the Cape Cod region and to launder profits derived

from the enterprise. Defendant moves to suppress evidence of

intercepted wire communications between him and an alleged co-

conspirator, John Willis. He asserts that the Court lacked

territorial jurisdiction to authorize interception of Willis’s

communications because Willis was no longer in Massachusetts at

the time of the recorded conversations.

     Pursuant to Title III of the Omnibus Crime Control and Safe

Streets Act of 1968, a federal judge may enter an ex parte order

“authorizing or approving interception of wire, oral, or

electronic communications within the territorial jurisdiction of

the court in which the judge is sitting (and outside that

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jurisdiction but within the United States in the case of a

mobile interception device authorized by a Federal court within

such jurisdiction.” 18 U.S.C. § 2518(3). On December 30, 2010, a

judge of this Court approved a warrant to wiretap John Willis’s

phone. The defendant argues that the District of Massachusetts

did not have jurisdiction to authorize interception of Willis’s

phone in December 2010, since the government’s application for a

wiretap stated that Willis had left Massachusetts and likely

absconded to Florida. Aff. ¶ 19, ¶ 87.

     The case law does not support this argument. Multiple

appellate courts have held that section 2518(3)’s territorial

jurisdictional requirement is satisfied if either the

intercepted device (here, Willis’s cellular phone) or the

listening post is present in the Court’s jurisdiction (here,

Massachusetts). United States v. Luong, 471 F.3d 1107, 1109 (9th

Cir. 2006); United States v. Denman, 100 F.3d 399, 403 (5th Cir.

1996); United States v. Rodriguez, 968 F.2d 130, 136 (2d Cir.

1992). The affidavit supporting the government’s wiretap

application states that, “all interceptions over the target

telephone will automatically be routed to a central monitoring

plan located in Boston, Massachusetts” and “all monitoring will

be performed” in Boston. Aff. ¶ 133. Because the listening post

was in Massachusetts, the District of Massachusetts had




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jurisdiction to authorize interception of Willis’s mobile phone,

even if he resided in Florida when he called the defendant.

     Defendant’s motion to suppress evidence of wire

communications (Docket No. 170) is DENIED.


                                  /s/ PATTI B. SARIS
                                  Patti B. Saris
                                  Chief United States District Judge




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